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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                                CIVIL ACTION

VERSUS                                                               NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                             SECTION: “I”(5)

                                                     ORDER

          Continuing a frustrating recent pattern of practice in this case, the City of New Orleans

(the “City”) has again sought leave to file a reply memorandum that raises new, substantive

arguments for the first time. (Rec. doc. 1428, 1428-2). For example, the City – for the first

time ever – suggests that the filing of its Rule 60 motion regarding the Phase III facility

triggered an “automatic stay” of the underlying Court orders of January 25, 2019 (rec. doc.

1221) and March 18, 2019 (rec. doc. 1227) pursuant to a statutory provision that, to the

Court’s recollection, no party in this case has ever cited before. 1 That an automatic stay of

the City’s obligations around Phase III quietly took hold in December 2020 is news to the

Court and is certainly news also to the other parties in the case.

          The City also makes a new argument that the New Orleans City Council is somehow

empowered by the City Charter to invalidate this Court’s lawful orders and its own

contractual obligations by refusing to approve a zoning variance. (Rec. doc. 1428-2 at p. 13).

          This Court has previously made clear the extreme risk to the City associated with

raising such arguments for the first time in a reply brief. (See discussion of waiver of such

arguments in rec. doc. 1385). While that warning has apparently fallen on deaf ears, the




1   That provision is 18 U.S.C. § 3626(e). (Rec. doc. 1428-2).
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Court will not refuse in this instance to allow the City to make its late-raised arguments, given

the importance of the issues at stake in the case.

       Accordingly, the motion for leave to file a reply memorandum is granted.              The

remaining parties, including the Sheriff, who inexplicably did not file a response to the City’s

motion to stay, shall file their sur-reply briefs addressing the procedural and merits-based

arguments raised in the City’s reply brief no later than April 21, 2021. Motions for leave to

file said briefs are not necessary, as leave is granted herewith. Further briefing will not be

Allowed. The Court will hold a hearing by Zoom on the motion to stay at 11:00 a.m. on April

28, 2021.

       New Orleans, Louisiana, this    8th day of          April          , 2021.




                                                     MICHAEL B. NORTH
                                               UNITED STATES MAGISTRATE JUDGE




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